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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

LISA RIEGEL,                               :
616 E. 6th Street                          :
Marysville, OH 43040                       :     Civil Action No.: 2:17-cv-1112
                                           :
 and                                       :     JUDGE SMITH
                                           :
ANYAH DAGENFIELD,                          :     MAGISTRATE JUDGE JOLSON
191 Chapelfield Rd.,                       :
Gahanna, OH 43230                          :
                                           :
       Plaintiffs,                         :
                                           :
       v.                                  :
                                           :
KANA HOTELS, INC.,                         :
c/o Registered Agent                       :     Jury Demand Endorsed Hereon
Columbus Hotel Partnership LLC             :
2700 Corporate Exchange Drive              :
Columbus, OH 43231                         :
                                           :
 and                                       :
                                           :
ALPESH PATEL,                              :
2700 Corporate Exchange Drive              :
Columbus, OH 43231                         :
                                           :
       Defendants.                         :
                                           :

                                 AMENDED COMPLAINT

       NOW COMES Plaintiffs Lisa Riegel and Anyah Dagenfield (“Plaintiffs”) and proffer this

Amended Complaint for damages against Defendants Kana Hotels, Inc. and Alpesh Patel

(hereinafter “Defendants”).
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                                 JURISDICTION AND VENUE

        1.     This action is brought pursuant to the Fair Labor Standards Act (“FLSA”), 29

U.S.C. §201, et seq., and the Ohio Minimum Fair Wage Standards Act, O.R.C. Chapter 4111

(“Chapter 4111”).

        2.     Jurisdiction is conferred upon this Court by 28 U.S.C. § 1331 and 29 U.S.C. §

1332(e), which provide for original jurisdiction of Plaintiffs’ claims arising under the law of the

United States and over actions to secure equitable and other relief.

        3.     This Court has jurisdiction over Plaintiffs’ claims under the statutory law of Ohio

pursuant to supplemental jurisdiction as codified at 28 U.S.C. § 1367.

        4.     Venue is proper in this forum pursuant to 28 U.S.C. §1391, because Plaintiffs

entered into an employment relationship with Defendants in the Southern District of Ohio and

performed their job duties there, and Defendants are doing and have done substantial business in

the Southern District of Ohio.

                                         THE PARTIES

        5.     Plaintiff Riegel is an individual, a United States citizen, and a resident of the state

of Ohio. Plaintiff Riegel resides in Union County, Ohio.

        6.     Plaintiff Dagenfield is an individual, a United States citizen, and a resident of the

state of Ohio. Plaintiff Dagenfield resides in Franklin County, Ohio

        7.     Defendant Kana Hotels, Inc. is a foreign corporation registered to do business in

Ohio.

        8.     Defendant Patel is an individual. Upon information and belief, Defendant Patel

owns, in whole or part, Defendant Kana Hotels, Inc.


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       9.     At all times relevant herein, the Plaintiffs were employees of Defendants as that

term is defined in the FLSA and O.R.C. Chapter 4111.

       10.    At all times relevant herein, Defendants were covered employers as that term is

defined in the FLSA and O.R.C. Chapter 4111.

       11.    At all times relevant to this action, Defendants were engaged in commerce or in the

production of goods for commerce, and/or the business activities of Defendants constituted an

enterprise engaged in commerce within the meaning of the FLSA.

                                 FACTUAL BACKGROUND

       12.    Plaintiff Riegel first began her employment with Defendants in or around

September 2016.

       13.    Plaintiff Dagenfield first began her employment with Defendants in or around

September 2016.

       14.    Throughout Plaintiffs’ employment, they worked as bartenders at Defendants’

Embassy Suites Hotel, located at 2700 Corporate Exchange Dr, Columbus, OH 43231.

       15.    Plaintiffs were tipped employees.

       16.    Plaintiffs and other bartenders worked defined shifts.

       17.    Bartenders on a defined shift split tips evenly as part of a tip pool.

       18.    During all times relevant herein, Plaintiffs reported to the Bar Manager, Jessica

McFarland.

       19.    As the Bar Manager, Ms. McFarland supervised and controlled the bartenders’

work schedules and conditions of employment, trained new bar employees, had the power to hire

and fire bar employees, determined raises and promotions, and maintained the sales and time

records for the bar employees.
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       20.     Ms. McFarland listed herself as a “bartender” on the schedules she created.

       21.     On the shifts Ms. McFarland listed herself as a bartender on the schedule, she would

take 50% of the tips.

       22.     On the shifts Ms. McFarland listed herself as a bartender on the schedule, she was

the only Bar Manager scheduled.

       23.     On the shifts Ms. McFarland listed herself as a bartender on the schedule, her

primary duties and responsibilities were that of the Bar Manager.

       24.     On the shifts Ms. McFarland listed herself as a bartender on the schedule, Ms.

McFarland would rarely bartend for any significant portion of her shift.

       25.     Despite being a member of management, Ms. McFarland still takes 50% of the tips.

       26.     From time to time, Plaintiffs worked more than 40 hours in a workweek.

       27.     On or about October 30, 2017, Plaintiff Riegel complaint to Defendants about the

“forced tip pool” and complained that it is unlawful for Ms. McFarland, as a manager, to take tips

from the bartenders. Plaintiff Riegel also stated that Ms. McFarland has admitted to her that the

practice was unlawful.

       28.     After Plaintiff Riegel made complaints about the unlawful tip pool structure, her

hours and shifts were drastically reduced.

       29.     Plaintiffs first initiated this action on December 18, 2017.

       30.     After the filing of the Complaint, Plaintiff Riegel’s hours continued to be

significantly reduced.

       31.     During the week of December 11, 2017, Plaintiff Riegel was reduced to one shift

for the entire schedule.


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           32.   The following week, Plaintiff Riegel was not informed of her scheduled days at all.

Plaintiff is usually informed by text message of the upcoming schedule.

           33.   Plaintiff Riegel sent texts to Ms. McFarland, Ms. McFarland’s boss Jason

Goldstein, and other employees asking if she was on the schedule and what days she was

scheduled. Plaintiff Riegel’s texts were intentionally ignored.

           34.   Plaintiff Riegel was not put on the schedule and was terminated from her

employment and/or constructively discharged.

                     FIRST CAUSE OF ACTION (Both Plaintiffs)
   FLSA – Invalid Tip Pool; Unlawful Retention of Tips; Failure to Pay Minimum Wage

           35.   All of the preceding paragraphs are realleged as if fully rewritten herein.

           36.   Plaintiffs were employees of Defendants within the previous three years of the

filing of this Complaint.

           37.   Plaintiffs were part of a tip pool where a portion of the tips were retained by the

employer and/or management.

           38.   Defendants unlawfully retained tips belonging to Plaintiffs.

           39.   Defendants were aware that management unlawfully retained tips belonging to

Plaintiffs.

           40.   Defendants unlawfully claimed a “tip credit.”

           41.   Defendants knew or should have known of the minimum wage payment

requirement of the FLSA, and that Plaintiffs are entitled to no less than minimum wage for all

hours worked.

           42.   Defendants’ refusal to properly compensate Plaintiffs as required by the FLSA was

willful.

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           43.   As a result of Defendants’ actions, Plaintiffs have been damaged.

                SECOND CAUSE OF ACTION (Both Plaintiffs)
OMFWSA and Ohio Constitution, Article II § 34(a) - Invalid Tip Pool; Unlawful Retention
                   of Tips; Failure to Pay Minimum Wage

           44.   All of the preceding paragraphs are realleged as if fully rewritten herein.

           45.   This claim is brought under Ohio law.

           46.   Defendants unlawful retention of tips, unlawful claiming of a tip credit, and the

failure to pay minimum wages are violations of Ohio law and the Ohio Constitution

                          THIRD CAUSE OF ACTION (Both Plaintiffs)
                               FLSA – Failure to Pay Overtime

           47.   All of the preceding paragraphs are realleged as if fully rewritten herein.

           48.   Defendants failed to pay Plaintiffs one and one-half times their regular rate of pay

for all hours worked in excess of 40 in a workweek.

           49.   Defendants knew or should have known of the overtime payment requirement of

the FLSA, and that Plaintiffs are non-exempt employees, entitled to one and one-half times their

regular rates of pay for all hours worked in excess of 40 in a workweek.

           50.   Defendants’ refusal to properly compensate Plaintiffs as required by the FLSA was

willful.

           51.   By not paying Plaintiffs their overtime rate for time worked in excess of forty hours

in a workweek, Defendants have violated the FLSA and Plaintiffs have been damaged.

                        FOURTH CAUSE OF ACTION (Both Plaintiffs)
                            OMFWSA – Failure to Pay Overtime

           52.   All of the preceding paragraphs are realleged as if fully rewritten herein.

           53.   Defendants failed to pay Plaintiffs one and one-half time their regular hourly rates

of pay for all hours worked in excess of 40 per workweek.
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       54.     By not paying Plaintiffs their overtime rate for time worked in excess of forty hours

in a workweek, Defendants have violated the OMFWSA and Plaintiffs have been damaged.

                        FIFTH CAUSE OF ACTION (Both Plaintiffs)
                   R.C. 4113.15 – Failure to Tender Pay by Regular Payday

       55.     All of the preceding paragraphs are realleged as if fully rewritten herein.

       56.     Plaintiffs asserts this claim under R.C. 4113.15, which requires Defendants to pay

its employees within thirty (30) days of when they performed compensable work.

       57.     At all times relevant herein, Defendants failed to make proper wage payments to

Plaintiffs for wages, tips, and overtime.

       58.     By failing to make the wage payments within 30 days of when such payments were

due, Defendants have violated R.C. 4113.15.

                       SIXTH CAUSE OF ACTION (Plaintiff Riegel Only)
                                   FLSA – Retaliation

       59.     All of the preceding paragraphs are realleged as if fully rewritten herein.

       60.     Plaintiff Riegel engaged in a protected activity when made complaints and opposed

Defendants’ unlawful pay practices and filed this lawsuit on December 18, 2017.

       61.     Defendants knew that Plaintiff engaged in such protected activity.

       62.     As a result of Plaintiff Riegel’s complaints and opposition, her scheduled hours and

shifts were reduced.

       63.     In mid-December, Plaintiff Riegel was reduced to only one shift for the week.

       64.     Then Plaintiff Riegel was never informed of her schedule and terminated from

employment and/or constructively discharged.

       65.     As a direct and proximate result of result of Defendants’ conduct, Plaintiff Riegel

has suffered lost wages and other compensation, and emotional distress.
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                                   PRAYER FOR RELIEF

    WHEREFORE, Plaintiffs prays for the following relief:

       A. A declaratory judgment that Defendants’ practices complained of herein are

           unlawful under the FLSA and the OMFWSA;

       B. An award of monetary damages, including unlawfully retained tips, unpaid

           minimum wages, unpaid overtime wages due under the FLSA, OMFWSA, and

           R.C. § 4113.15;

       C. An award of liquidated damages and/or treble damages as a result of Defendant's

           failure to pay overtime compensation pursuant to 29 U.S.C. § 216 and R.C.

           § 4113.15;

       D. An award of prejudgment and post judgment interest;

       E. An award of costs and expenses of this action together with reasonable attorneys’

           fees and expert fees;

       F. Sixth Causes of Action - Plaintiff Riegel Only – An award of lost wages and other

           compensation, and an award of compensatory damages, liquidated damages and/or

           pre/post judgment interest, attorneys’ fees and costs;

       G. Such other legal and equitable relief as this Court deems appropriate, but in any

           event not less than $75,000.00.




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                                           Respectfully submitted,

                                           /s/Greg Mansell
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                                            Counsel for Plaintiff




                                  JURY DEMAND

                 Plaintiff hereby requests a jury of at least eight (8) persons.

                                            /s/Greg R. Mansell________
                                            Greg R. Mansell (0085197)




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